
Bissell, P. J.
This action for divorce was begun in the county court of Arapahoe county and a decree of divorce prayed. There was an answer and a cross-complaint. Apparently preceding these proceedings there was an application for alimony based on a separate proceeding, setting up divers facts and thereon the court ordered the plaintiff to pay $20.00 per month during the litigation. From this order thus made in the county court an appeal was taken under the statute to the district court. While tins particular feature of the controversy was pending in the district court, the main divorce suit was tried in the other tribunal and a verdict returned in favor of the plaintiff ajddging the defendant guilty and the plaintiff not guilty as appeared in the cross-complaint. After this verdict, by stipulation of counsel and of parties, the alimony portion of the suit was retransferred to the county court for determination. Therein further proceedings were had respecting alimony and the custody of the children and the final decree. Whether the latter statement be or be not true we do not verify by an examination of the record since it is wholly unimportant to the determination of this appeal.
The statement exhibits the fact that the order concerning alimony was made in a suit brought to obtain a divorce and wherein the plaintiff became entitled to his decree by the verdict of the jury. The claim for alimony and the court’s order respecting it was an incident to the suit, and this court therefore under the recent decisions is totally without jurisdiction. Mercer v. Mercer, 13 Colo. App. 237; Eickhoff v. Eichkoff, 14 Colo. App. 127; Mercer v. Mercer, 27 Colo. 216. Therein all matters presented by this appeal have been determined adversely to the appellant and it has been held by both courts that in an action of this description, and under these circumstances, this court is without jurisdiction to review the decree or the judgment for alimony. The appeal is therefore dismissed.

Dismissed.

